       Case 2:24-cv-04949-WB          Document 43       Filed 11/04/24    Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

                                                   )
FEDERAL TRADE COMMISSION                           )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          )   Case No. 2:24-CV-4949
                                                   )
EMPIRE HOLDINGS GROUP LLC,                         )
d/b/a ECOMMERCE EMPIRE BUILDERS                    )
and STOREFUNNELS.NET, a limited liability          )
company, and PETER PRUSINOWSKI                     )
Individually and as officer of                     )
Empire Holdings Group LLC,                         )
                                                   )
       Defendants.                                 )
                                                   )

                                           ORDER

       AND NOW, this 4th day of November, 2024, upon consideration of Defendant

Prusinowski’s Motion for Fees Incurred to Date, and Additional Fees to Continue to Defend or,

in the Alternative, to Withdraw as Counsel of Record (ECF Nos. 35 & 42) and Plaintiff’s

response thereto (ECF 41), it is HEREBY ORDERED that the Motion for Fees is GRANTED.

       It is FURTHER ORDERED that:

            1. $231,358.50 in funds held by defense counsel are unfrozen and may be used to pay
               for fees and costs incurred to date; and that,
            2. An additional $150,000.00 in funds held by defense counsel are unfrozen and may
               be used to pay for fees and costs to prepare for the preliminary injunction show
               cause hearing presently set for November 12, 2024.

      ACCORDINGLY, the Motion in the alternative to Withdraw as Counsel is DENIED.



                                                          /s/ Wendy Beetlestone
                                                          WENDY BEETLESTONE, J.
                                                          United States District Judge
